      Case 18-27004   Doc 29 Filed 11/27/18 Entered 11/27/18 09:45:09   Desc Main
                        UNITED Document
                                STATES BANKRUPTCY
                                           Page 1 of 1 COURT
                         WESTERN DISTRICT OF TENNESSEE

In re:                                            Chapter 13
DONNA RAY JOHNSON
Debtor(s)                                         Case No. 18-27004-L
______________________________________________________________________
                           NOTICE OF HEARING
______________________________________________________________________
     The Chapter 13 Trustee's Motion to Dismiss Chapter 13 having been
filed by Sylvia Ford Brown on November 16, 2018.

      NOTICE IS HEREBY GIVEN THAT:

     The Chapter 13 Trustee's Motion to Dismiss Chapter 13 Case shall
be held on 1/3/2019, at     9:00 am in the United States Bankruptcy
Court, Room 600, 200 Jefferson Avenue, Memphis, Tennessee, 38103.

     Debtors should contact their attorney to see if their attendance
is necessary. This hearing may be continued or adjourned from time to
time by oral announcement (at the hearing) of the continued or
adjourned date and time, without further written notice.

                                             /S/ Sylvia Ford Brown
                                             CHAPTER 13 TRUSTEE
______________________________________________________________________
                           MOTION TO DISMISS
                CHAPTER 13 CASE FOR SUFFICIENT GROUNDS
______________________________________________________________________
     Comes now your Standing 13 Trustee who would show unto the Court
that pursuant to 11 U.S.C. 1307 he or she reasonably believes there
are sufficient grounds to dismiss this case.


     PREMISES CONSIDERED, your Trustee prays:
     1. That the matter be set for hearing.
     2. That the case be dismissed.
     3. That the Trustee be granted such other and further relief to
which he or she may be entitled.

                                                   /S/ Sylvia Ford Brown
                                                   CHAPTER 13 TRUSTEE

CC:   CHAPTER 13 TRUSTEE

      DONNA RAY JOHNSON
      3016 ELGIN DR
      MEMPHIS,  TN 38115

      JULIET HILL AKINES ATTORNEY
